Case 2:19-cv-00388-LEW Document 1-4 Filed 08/21/19 Page 1 of 4                              PageID #: 10
                                                                                              EXHIBIT 1




   STATE OF MAINE                                                        SUPERIOR COURT
   LINCOLN, SS                                                           CIVIL ACTION
                                                                         Docket No

   John Winslow
                                                                 Case No.:
          Plaintiff

                                                                 COlVIPI,AIN'I'
   V.                                             :

   Hartford Life and Accident Insurance           :
   Company                                        :

          Defendant                               :


          Plaintiff, Robert Winslow, for his Com °      it against Defendant Hartford Life & Accident

   Insurance Company ("Hartford"), states as folle

          1.      Mr. Winslow is an individual         ,, at times relevant to this Complaint, resided in

   Waldoboro, Maine, and who is or was a parti         nt in group disability benefit plan (the "Plan"),

   sponsored by his former union, Union Worlce ,;      enefits Trust Local G ("Sponsof").

          2.      Upon information and belief, tt e    [an is funded, in part, through a group insurance

   policy Hartford sold to the Sponsor (the "Poli ll

          3.      Hartford is a foreign company t,              group insurance coverage to residences

   of Maine.

          4.      Hartford acts as the administ        - and/or fiduciary of the Plan for purposes of

   benefit determinations made pursuant to the P       and Policy.

          5.      Hartford, as the administrator a     nsurer of claims for disability benefits under the

   Plan, operated with a financial conflict of inte~   that permeated its decision-making process.
Case 2:19-cv-00388-LEW Document 1-4 Filed 08/21/19 Page 2 of 4                             PageID #: 11
                                                                                             EXHIBIT 1




             6.     Mr. Winslow brings this acti       i~'der the Employee Retireinent Income Security

   Act ("ERISA") 502(a)(1)(B), 29 U.S.C. 11            )(1)(B), to recover benefits under the Plan and

   Policy.

             7.     This Court has subject ma           isdiction over this action, and it may assert

   personal jurisdiction over the Defendants            to ERISA 502(e)(2), 29 U.S.C. 1132(e)(2).

                                                        Relief

             8.     The Plan provides that 1            will provide long-term disability benefits to

   participants who are considered disabled.

             9.     The Plan and Policy, in               as follows:

             Disability or Disabled means:

                    1. during the Elimination Peric       are prevented from performing one or more
                       of the Essential Duties of Y
                    2. for the 24 months following     Elimination Period, you are prevented from
                       performing one or more of t     ;ssential Duties of Your Occupation, and as a
                       result your Current Monthl3     -nings are less than 80% of your Indexed Pre-
                       disability Earnings;
                    3. after that, you are prevented     perfonning one ®r m®re of the Essential
                       Duties of Any Occupation.

             10.    Mr. Winslow suffers from an           ve history of seizures, loss of inemory, lacic

   of attention, and cognitive impairment              have prevented and continue to prevent his

   participation in any full or part time emplo}

             11.    Mr. Winslow was approved              term disability ("LTD") benefits from March

   28, 2016 through April 10, 2018.

             12.    Mr. Winslow subsequently apl       and was approved for Social Security Disability

   Insurance benefits by the Social Security Admi

             13.    On April 10, 2018, Hartford t,         as Hartford felt that hi s conditions did not
                                                 I~ ~
   prevent him from performing one essential dut; ; i Any Occupation.
Case 2:19-cv-00388-LEW Document 1-4 Filed 08/21/19 Page 3 of 4                                            PageID #: 12
                                                                                                            EXHIBIT 1




          14.     Mr. Winslow timely appealed ,i                              's denial and has now exhausted his
                                                                   i
   administrative remedies.

          15.     Mr. Winslow remains disabled a I                            to perform his prior occupation, or any
                                                               i

   other sedentary occupation, on a full or part tini
                                                               ~
          16.     Hartford's decision to the contr 'j is incorrect, arbitrary and capricious.

          17.     Further, Hartford failed to pro 'iI ; a full and fair review and otherwise violated
                                                               i
   ERISA's claims procedure regulation.

          18.     As a result of the foregoing, Mr 1                   inslow has suffered a loss in the form of unpaid

   benefits, among other tliings.                          ~
                                                           ~
          19.     Mr. Winslow is entitled to a jud'                       against Hartford in the amount of the unpaid
                                                           I
   benefits under the Policy including, inter ali ;                       term disability benefits as well as an order

   directing Hartford to pay Mr. Winslow future f

          20.     Mr. Winslow is also entitled t                        udgment interest and an award of attorney's

   fees under ERISA 502(g) in an amount to be r r

           WHEREFORE, Plaintiff, Robert Wi s                            , requests the Court grant him the following

   relief from Defendant:

           a.      A judgment in the amount i                          all benefits due under the Plan/Policy plus
                                                       i
   prejudgment interest;
                                                       i
           b.      A judgment ordering Hartford I o                    ntinue to pay Mr. Winslow long-term disability
                                                       ~

   benefits for as long as he remains totally disa '1                  under the Plan/Policy;
                                                   I

           C. .    A judgment ordering Hartford ti                     ;pay Mr. Winslow his costs and attorney's
                                                   ~
   fees, under ERISA 502(g); and                   I

                                                   I~
Case 2:19-cv-00388-LEW Document 1-4 Filed 08/21/19 Page 4 of 4                      PageID #: 13
                                                                                      EXHIBIT 1




          d.     All other relief to whicli he is   , including de novo review of the decision to

   deny the claim.




   Dated: July 30, 2019
                                                              : D v s, Esq. k8ar No. 005733)
                                                              .T COFFIN
                                                    One Canal Plaza, Suite 400
                                                    Portland, Maine 04101
                                                    207.370.3010
                                                    adavis@lamberteoffin.com
